Case 1:23-cv-03722-PAE Document 25-4 Filed 12/19/23 Page 1 of 2




         Exhibit 4
         Case 1:23-cv-03722-PAE Document 25-4 Filed 12/19/23 Page 2 of 2




From: REDACTED
Sent: Wednesday, March 16, 2022 12:00 PM

To: Gentile, Tom <tom.gentile@spiritaero.com>
Subject: Failure to Follow Company Policies.

Hello,
 I am reaching out about clarification of the policies in place. Everywhere I go throughout the factory I see
signs about "Quality Matters" and if there is something wrong to stop and raise a concern, however
recently I been reprimanded for doing my job correctly accordingly to the policies in place. PRO-4005,
POL-1271 support my allegations. and I have attached the reports I have made to HR in an attempt to
call for help. It's been three weeks since the compliance was filed and i have not seen any response.
Since then I been stripped from my team lead position and my team has been left intimidated and without
a voice to speak up. I reached out to the investigator from HR and she is out for this whole week, mean
while everything is a a stand still.

  This is my last resort and I apologize to take time out of your busy schedule but I have lost faith on the
quality organization here at spirit and this is my last cry for help into resolving this issue that violates the
guide lines stablished by the AS9100 which governs our certification to build aircraft and which has been
in question and even put on probation by Boeing on previous years. If I cannot do my job according to the
policies in place then change them so I can perform my job within the guidelines in place.

I also know that and internal audit was reported that confirms what i stood up for yet the information has
not been passed down?

Thank you for your time and help!
